Case 1:23-cv-01346-JSR Document 33-4 Filed 05/12/23 Page 1 of 2




            EXHIBIT SS
                       Case 1:23-cv-01346-JSR Document 33-4 Filed 05/12/23 Page 2 of 2

    From:                    Do Kwon <do@terra.money>
    To:                      Terra Investor Relations
    Sent:                    1/13/2020 6:59:23 PM
    Subject:                 [CONFIDENTIAL] Regarding liquidity partnership



   All,

   I am circulating an email among Terra's leading investor group to notify you of an important arrangement we've
   entered into with Jump Trading. At Jump's request, we are keeping this arrangement strictly confidential and the
   size of notified parties small (5 firms), so would appreciate it if all of you could all do the same.

   We hit an important milestone yesterday at Terra, with Chai reaching lM active users at> 2M USD in daily
   purchasing volume. Though all our adoption metrics have been steadily inclining over the past half-year, the
   performance of the Luna token has been rather lackluster partly due to our team's inexperience with secondary
   markets & trading operations.

    Therefore, we've agreed to enter a partnership with Jump Trading whereby:


          • Jump will deploy its own resources to improve liquidity of Terra and Luna
          • Jump will deploy a validator and participate in on-chain governance
          • Jump is rewarded with call options for Luna at above current market prices (30, 40, 50 cents) over the next
            three years to align incentives to improve markets


   To provide initial Luna liquidity, Terraform Labs has loaned Jump trading 30M Luna. The transaction details are
   here: https://finder.terra.money/columbus-
   3/tx/2132C1A695C1D727770A2261185212F957D0287C840D3415DBA9E23E0801D60D

   This represents a significant departure from our previous strategy of staying neutral to our token's secondary
   market conditions, so we decided it would be important to let our strongest supporters know in the interest of
   transparency.

   Please talk to me on telegram @dokwon if you have any questions regarding.

   Best,
   Do




CONFIDENTIAL                                                                                                        AXRP0011544
